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                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                               TAMPA DIVISION

  UNITED STATES OF AMERICA,


  vs.                                  Case No.: 8:24-cr-00020-MSS-CPT


  HEIDI RICHARDS,

           Defendant.
                                                /

                  DEFENDANT’S UNOPPOSED EMERGENCY
                      MOTION TO CONTINUE TRIAL

           Defendant Heidi Richards, by and through undersigned counsel, move to

  continue the June 2, 2025 trial date due to the unexpected death of

  undersigned counsel’s mother Sheila Darken today, May 27, in New York

  State.

           Due to travel arrangements of numerous family members, the funeral

  Mass and burial cannot occur this week and the church where the funeral Mass

  will occur is not available this coming weekend. Consequently, the funeral

  Mass will occur at Our Lady of the Sacred Heart Catholic Church in Tappan,

  New York on Monday June 2, the date set for this trial to begin.

           Government counsel Risha Ashokan and Karyna Valdes are not opposed

  to this motion.
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        Ms. Ashokan and Ms. Valdes start another trial on June 9, 2025.

        Undersigned counsel has been and remains lead counsel for defendant

  Heidi Richards and the defense of this case would be severely jeopardized

  without undersigned counsel’s presence and necessary involvement. This point

  has been discussed with Government counsel who do not object to a

  continuance until such time as undersigned counsel is available.

        Defense counsel and Government counsel suggest that the Court hold a

  brief status conference on June 5 or June 6 to discuss resetting the trial date

  in this case. If necessary, Defendant will extend her speedy trial waiver.



  Dated: May 27, 2025                        Respectfully submitted,


                                             /s/ Kevin Darken
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                         CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that I filed the foregoing with the Clerk of Court

  for the Middle District of Florida on this 27th day of May 2025 by uploading it

  to the CM/ECF system, which will send a notice of electronic filing to all

  counsel of record.

                                            /s/Kevin Darken
                                            KEVIN DARKEN




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